     Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 1 of 38




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

         UNITED STATES OF AMERICA

         v.
                                                                         No. 4:22-CR-00612-S
         EDWARD CONSTANTINESCU,
         PERRY “PJ” MATLOCK,
         JOHN RYBARCZYK,
         GARY DEEL,
         STEFAN HRVATIN,
         TOM COOPERMAN,
         MITCHELL HENNESSEY,
         DANIEL KNIGHT.


     DEFENDANT EDWARD CONSTANTINESCU’S JOINT1 MOTION TO DISMISS




1
  The arguments in this Motion are approved and adopted by the following Defendants, who join as to Count 1 and
to the extent these arguments apply to their respective securities fraud counts: Stefan Hrvatin (Counts 14, 15); Tom
Cooperman (Counts 10, 12, 16, 17, 19), Perry “PJ” Matlock (Counts 3, 4, 5, 7, 10, 11), and Gary Deel (Counts 3, 5,
10, 11, 12, 16, 17).
        Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 2 of 38




                                                         TABLE OF CONTENTS

PRELIMINARY STATEMENT ...................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................... 4

ARGUMENT................................................................................................................................... 8

   I.     LEGAL STANDARDS. ......................................................................................................... 8

             A. Failure to State an Offense...................................................................................................... 8

             B. Due Process and Vagueness Doctrine .................................................................................... 9

             C. As-Applied Vagueness Challenges....................................................................................... 10

  II.     THE INDICTMENT FAILS TO STATE A § 1348 SECURITIES FRAUD OFFENSE
          AGAINST CONSTANTINESCU BECAUSE CONSTANTINESCU’S TWEETS DO
          NOT CONTAIN ANY “FALSE” STATEMENTS AS A MATTER OF LAW ............... 11

III.      THIS PROSECUTION OF CONSTANTINESCU, PREMISED ON THE
          GOVERNMENT’S NOVEL APPLICATION OF § 1348 AND § 1349, VIOLATES THE
          CONSTITUTIONAL COMMAND THAT A PERSON MUST HAVE FAIR WARNING
          THAT THEIR CONDUCT FALLS WITHIN THE SCOPE OF THOSE STATUTES .. 13

             A. The Securities laws and regulations cover the conduct alleged in the Indictment ............... 14

             B. The five § 1348 counts against Constantinescu, as alleged in the Indictment, violate
                the fair warning requirement because (i) the government’s novel construction of the
                statute has never been applied by courts and (ii) Constantinescu’s alleged conduct
                falls outside the scope of established securities laws which already regulate the sale
                of securities ......................................................................................................................... 18

                1. The government’s theory with respect to the requisite “falsity” under § 1348 is
                   unprecedented and has never been applied by courts in a manner that would have
                   provided fair warning of the government’s proposed application of the statute here
                      ........................................................................................................................................... 18

                2. The existing securities laws that establish limitations on the sale of a security after
                   an individual provides advice on that security do not apply to Constantinescu .... 20

                3. Remaining securities laws do not provide notice that Constantinescu was restricted
                   from selling shares after speculating about their price or tweeting his intent to hold
                   them ................................................................................................................................... 21




                                                                               i
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 3 of 38




             C. The Indictment violates due process because the Defendants did not have fair warning
                that their lawful conduct could give rise to criminal liability under 18 U.S.C. § 1349
                for conspiracy to commit securities fraud....................................................................... 23

CONCLUSION ............................................................................................................................. 28




                                                                    ii
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 4 of 38




                                                 TABLE OF AUTHORITIES

Chiarella v. United States,
  100 S. Ct. 1108 (1980)............................................................................................................... 24

City of Chicago v. Morales,
  527 U.S. 41 (1999) .................................................................................................................... 14

Connally v. General Constr. Co.,
  269 U.S. 385 (1926) .................................................................................................................. 10

Corenco Corp. v. Schiavone & Sons, Inc.,
  488 F.2d 207 (2d Cir. 1973) ...................................................................................................... 18

Donaldson v. Severn Sav. Bank, F.S.B.,
  No. CV JKB-15-901, 2015 WL 7294362 (D. Md. Nov. 18, 2015) ........................................... 21

Grayned v. City of Rockford,
  408 U.S. 104 (1972) .................................................................................................................. 11

Heinze v. Tesco Corp.,
  971 F.3d 475 (5th Cir. 2020) ..................................................................................................... 13

In re Living Benefits Asset Mgmt., L.L.C.,
   916 F.3d 528 (5th Cir. 2019) ..................................................................................................... 20

In re Winship,
   397 U.S. 358 (1970) .................................................................................................................... 9

Kolender v. Lawson,
  461 U.S. 352 (1983) .................................................................................................................. 10

Marinello v. United States,
 138 S. Ct. 1101 (2018)............................................................................................................... 14

Maynard v. Cartwright,
 486 U.S. 356 (1988) .................................................................................................................. 11

McBoyle v. United States,
 283 U.S. 25 (1931) .................................................................................................................... 14

Microbot Med., Inc. v. Mona,
  No. 19CIV3782GBDRWL, 2021 WL 1192110 (S.D.N.Y. Mar. 30, 2021) .............................. 22

Morales v. Quintel Ent., Inc.,
 249 F.3d 115 (2d Cir. 2001) ...................................................................................................... 18



                                                                    iii
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 5 of 38




Motient Corp. v. Dondero,
 2006 WL 8437595, (N.D. Tex. Aug. 7, 2006) aff’d in part, remanded in part, 529 F.3d 532
  (5th Cir. 2008) ........................................................................................................................... 18

Plaisance v. Schiller,
  2019 WL 1205628 (S.D. Tex. Mar. 14, 2019) .......................................................................... 24

Rubenstein v. Collins,
  20 F.3d 160 (5th Cir. 1994) ....................................................................................................... 13

Rubenstein v. International Value Advisers, LLC,
  959 F.3d 541 (2d. Cir. 2020) ..................................................................................................... 21

SEC v. E. Delta Res. Corp.,
  2011 WL 13305345 (E.D.N.Y. Mar. 22, 2011)......................................................................... 15

SEC v. Gallagher,
  21 CV 8739 ¶ 41 (S.D.N.Y.) ..................................................................................................... 19

SEC v. Life Partners Hldgs., Inc.,
  41 F. Supp. 3d 550 (W.D. Tex. 2013) ....................................................................................... 13

Transcon Lines v. A.G. Becker Inc.,
  470 F. Supp. 356 (S.D.N.Y. 1979) ............................................................................................ 18

United States v. Bass,
  92 S. Ct. 515 (1971)................................................................................................................... 23

United States v. Campbell,
  64 F.3d 967 (5th Cir. 1995) ................................................................................................. 12, 23

United States v. Castro,
  704 F.3d 125 (3d Cir. 2013) .................................................................................................. 9, 12

United States v. Crow,
  164 F.3d 229 (5th Cir.1999) ........................................................................................................ 9

United States v. Dikshit,
  2022 WL 13835072 (S.D.N.Y. Oct. 20, 2022) .......................................................................... 19

United States v. Flores,
  404 F.3d 320 (5th Cir. 2005) ....................................................................................................... 9




                                                                      iv
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 6 of 38




United States v. Fontenot,
  665 F.3d 640 (5th Cir. 2011) ................................................................................................. 9, 13

United States v. Gallagher,
  No. 1:22-cr-122 (S.D.N.Y. July 6, 2022) .................................................................................. 19

United States v. Harra,
  985 F.3d 196 (3d Cir. 2021) .................................................................................. 2, 9, 11, 13, 27

United States v. Hendricks,
  116 F.3d 1476, 1997 WL 304169 (5th Cir. 1997) ................................................................. 4, 23

United States v. Hussain,
  972 F.3d 1138 (9th Cir. 2020) ................................................................................................... 19

United States v. Lanier,
  477 U.S. 242 (1986) ........................................................................................................ 9, 10, 14

United States v. Matthews,
  31 Fed. App’x. 838, 2002 WL 261421 (5th Cir. 2002) ............................................................. 12

United States v. Medeles,
  916 F.2d 195 (5th Cir. 1990) ..................................................................................................... 11

United States v. Nadi,
  996 F.2d 548 (2d Cir.1993) ....................................................................................................... 11

United States v. Radley,
  659 F. Supp. 2d 803, 816 (S.D. Tex. 2009) aff’d 632 F.3d 177 (5th Cir. 2011) ....................... 16

United States v. Ryan,
  580 F. Supp. 3d 359 (E.D. La. 2022)......................................................................................... 12

United States v. Safavian,
  528 F.3d 957 (D.C. Cir. 2008) ................................................................................................... 27

United States v. Schneiderman,
  968 F.2d 1564 (2d Cir.1992) ..................................................................................................... 11

United States v. Simpson,
  741 F.3d 539 (5th Cir. 2014) ..................................................................................................... 23

United States v. White Eagle,
  721 F.3d 1108 (9th Cir. 2013) ............................................................................................. 14, 24




                                                                   v
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 7 of 38




Williams v. United States,
  458 U.S. 279 (1982) .................................................................................................................. 11

Wooden v. United States,
 142 S. Ct. 1063, 1082 (2022) (Gorsuch, J., concurring) ..................................................... 10, 23


Statutes and Rules:

15 U.S.C. § 77 et seq ..................................................................................................................... 15

15 U.S.C. § 78 et seq ..................................................................................................................... 15

15 U.S.C. § 78i .................................................................................................................. 15, 19, 25

15 U.S.C. § 78i(a)(2) ............................................................................................................... 16, 17

15 U.S.C. § 78i(a)(6) ............................................................................................................... 16, 17

15 U.S.C. § 78i(d) .................................................................................................................... 16, 17

15 U.S.C. § 78m(d)(1) ................................................................................................................... 17

15 U.S.C. § 78m(d)(3) ............................................................................................................. 17, 25

15 U.S.C. § 78m(g) ........................................................................................................................ 17

15 U.S.C. § 78p(b) ................................................................................................................... 16, 21

15 U.S.C. § 80b-2(11).............................................................................................................. 17, 20

15 U.S.C. § 80b-6 .......................................................................................................................... 17

15 U.S.C. § 80b-6(3) ............................................................................................................... 17, 20

15 U.S.C. § 80 et seq ..................................................................................................................... 15

17 C.F.R. § 240.10b5-1............................................................................................................ 16, 22

17 C.F.R. § 240.13d-1.............................................................................................................. 17, 25

18 U.S.C. § 1348 ..................................................................................................... 1, 3, 4, 8, 11, 13

18 U.S.C. § 1349 ................................................................................................................... 4, 7, 23

18 U.S.C. § 1957 ............................................................................................................................. 4



                                                                      vi
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 8 of 38




18 U.S.C. § 1001(a)(1) ............................................................................................................ 14, 27

26 U.S.C. § 7212(a) ....................................................................................................................... 14

Federal Rule of Criminal Procedure 12(b)(3).................................................................................. 1

Federal Rule of Criminal Procedure 12(b)(3)(B)(v)........................................................................ 9




                                                                     vii
     Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 9 of 38




        Defendant Edward Constantinescu (“Constantinescu”) respectfully submits this

memorandum of law in support of his motion to dismiss counts 1, 2, 14, 15, 18, and 20 pursuant

to Federal Rule of Criminal Procedure 12(b)(3).

                                     PRELIMINARY STATEMENT

        The Indictment of Constantinescu must be dismissed in its entirety. The government brings

seven counts against him: a single count of conspiracy to commit securities fraud, five counts of

securities fraud, and a single count of money laundering.2 The government’s theory is that

Constantinescu committed securities fraud by engaging in a “scheme to ‘pump and dump’”3 the

stock of five public companies and conspired to commit another 402 “pump and dumps” with

“other individuals, known and unknown,” including the seven other Defendants named in the

Indictment. According to the government, Constantinescu and others engaged in these “pump and

dumps” through a three-step scheme: “(1) purchasing shares of a security in their accounts,” (2)

posting “false” information about these securities on Twitter and the Atlas Trading Discord

chatroom, and (3) “secretly” selling or “concealing their intent to sell” those securities. The

government’s theory fails as a matter of law and, thus, cannot and should not proceed to a jury.

        It fails for two independent but related reasons. First, the five securities fraud counts

against Constantinescu fail to state an offense, because the government has not adequately alleged

an essential element of § 1348 securities fraud: namely, that any of the 21 tweets by Constantinescu

quoted in the Indictment were “false.” The 21 tweets attributed to Constantinescu in the Indictment



2
  Constantinescu previously moved to dismiss the money laundering count (Count 21) [ECF 170], which is sub judice.
3
  “Pump and dump” schemes are typically characterized by the dissemination of fake “inside” information about a
company. Specifically, promoters of the stock “will claim to have inside information about an imminent development
that will lead to a dramatic upswing in the share’s price.” Investor Protection Guide: Micro-cap Stock Fraud ("Pump
and Dump"), Legal Information Institute, Cornell U Law School,
https://www.law.cornell.edu/wex/investor_protection_guide_microcap_stock_fraud_%28%22pump_and_dump%22
%29; Dhir, Rajeev, Pump-and-Dump: Definition, How the Scheme is Illegal, and Types, Investopedia.com, Jan. 13,
2022, https://www.investopedia.com/terms/p/pumpanddump.asp.


                                                        1
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 10 of 38




all fall into two categories: (1) speculations about the future price of a public company’s non-

restricted stock or (2) speculations about Constantinescu’s intent to hold (or not sell) a security.

The government’s theory is that these statements were “false” based solely on Constantinescu’s

subjective beliefs, that is, he never believed the stock would reach the speculated price or he never

intended to hold (or not sell) the security. The government intends to ask the jury to infer falsity

of the 21 tweets based solely on Constantinescu’s subsequent sales of the securities, which it

suggests creates the inference that Constantinescu never believed that the share price would reach

that value and never intended to hold the shares.

        But the law does not recognize criminal charges on such a theory and due process does not

permit it. Rather, “the falsity element stand[s] independent of a defendant’s subjective intent,”

requiring the government to “prove beyond a reasonable doubt that the statement was objectively

false.” United States v. Harra, 985 F. 3d 196, 211–12 (3d Cir. 2021). In other words, the

government must allege falsity based on some objective indicia of falsity. None of the 21 tweets

cited in the Indictment can be deemed “objectively false,” since they were merely price predictions

and statements of future intent without any objective indicia alleged suggesting their falsity.

        Even if the government could stand on “subjective” belief alone, it has failed to allege any

facts suggesting Constantinescu did not believe what he said at the time he said it. The government

may not rely on Constantinescu’s sales after his tweets as proof he did not believe what he said for

a few simple reasons: nothing in the securities laws prohibited him from changing his mind,

nothing in the securities laws restricted him from selling after making these forward-looking

statements, and nothing in the securities laws required him to disclose these sales.

        Permitting a jury to infer “falsity” in this manner would create novel and unworkable

restrictions on the transfer of securities that are contrary to existing securities laws. After tweeting




                                                   2
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 11 of 38




a price prediction, is an individual (who is indisputably not an investment adviser) barred from

disposing of that security if and until the security reaches that price? How long must an individual

wait to dispose of shares after tweeting an intent to hold them? Hours? Days? Months? Years?

Must an individual disclose his intent to sell prior to selling shares (or sometime after)? Does he

have to tweet it? Or can he merely file on the SEC’s EDGAR web platform 10 days after the sale?

Does he have to file even though he never exceeded 5% ownership of the company’s existing

shares?

          These questions reveal the precise flaw in the Indictment against Constantinescu: the

Constitution’s fair warning requirement and its intolerance of vagueness in the application of

criminal statutes mandates dismissal of the § 1348 (securities fraud) and § 1349 (conspiracy to

commit securities fraud) counts. The laws, regulations, and guidance that regulate the securities

industry already provide a comprehensive scheme setting forth the rights, duties, and obligations

governing the types of conduct alleged in the Indictment. Yet none of these laws, regulations, or

guidance prohibit any of the conduct alleged here nor recognize the government’s “cutting edge”

conspiracy theory.4 The fact is, even if one accepts the allegations in the Indictment as true,

Constantinescu’s actions were not unlawful. What the Indictment alleges is not a crime: a non-

insider, non-investment adviser who holds less than 5% of the outstanding shares of a company

tweeting price predictions for shares of public companies and selling them before the share reaches

that price.




4
 At the press conference announcing Constantinescu’s Indictment, U.S. Attorney for the Southern District of Texas
Alamdar S. Hamdani publicly pronounced: “As some use advances in technology and social media to prey upon the
public, our office will be on the cutting edge of prosecuting this area of fraud.” Eight Men Indicted for $114 Million
Securities Fraud Scheme Orchestrated Through Social Media, U.S. DEPARTMENT OF JUSTICE, Office of Public
Affairs (Dec. 12, 2022), https://www.justice.gov/opa/pr/eight-men-indicted-114-million-securities-fraud-scheme-
orchestrated-through-social-media (emphasis added).


                                                          3
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 12 of 38




         The conspiracy charge fails for the same reason. The Fifth Circuit has made clear a

conspiracy charge cannot stand where a defendant “acted within the perimeters of his legal rights.”

United States v. Hendricks, 116 F.3d 1476, 1997 WL 304169, at *4 (5th Cir. 1997). The Defendants

had no notice that their lawful actions could give rise to criminal liability: (i) making bona fide

market purchases of non-restricted securities at prevailing market prices; (ii) recommending and

encouraging others to buy those securities; (iii) speculating about the price those securities might

reach; (iv) sharing truthful information about the companies on social media;5 and (v) making bona

fide sales of those non-restricted securities at prevailing market rates without disclosing the sales.

These are all lawful routine activities in the securities industry engaged in daily by millions of

market participants in paid and unpaid chatrooms and on social media. There is nothing nefarious

about it. And nothing in the securities laws prevented these individuals from building a community

around their shared passion for day-trading, teaching and sharing with others their ideas on social

media, and showing off their successes.

                                          STATEMENT OF FACTS

         The Indictment charges Constantinescu with the following offenses:

             a. One count of conspiracy to commit securities fraud (18 U.S.C. §
                1349), along with seven other defendants;

             b. Five counts of securities fraud (18 U.S.C §§ 1348 & 2), in
                connection with 5 identified securities;

             c. One count of engaging in monetary transactions in property derived
                from specified unlawful activity (18 U.S.C. § 1957).




5
 While the Indictment alleges the Defendants posted “due diligence” about some securities it does not allege this “due
diligence” was “false” nor does it provide any examples of “false” “due diligence.”


                                                          4
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 13 of 38




       Each of the five counts of securities fraud for which Constantinescu is charged are

predicated on the government’s allegation that he made “false” statements in posts on Twitter. The

government alleges the following scheme based on purportedly false tweets: First, Constantinescu

purchased shares through bona fide market transactions at prevailing market rates. Next, he posted

“false” “price target[s]” and “falsely” expressed an intent to hold shares rather than sell them.

Lastly, he sold the shares sometime after the tweets in bona fide market transactions without

disclosing his sales. The Indictment identifies the following 21 tweets by Constantinescu, all of

which the government alleges are “false”:

       Re: CEI (Camber Energy, Inc.)

               1.   “CEI is going to 10 . . .” (¶ 98),
               2.   “$CEI is a $10 stock all day long” (¶ 98),
               3.   “OIL going to $100 $CEI going to $10” (¶ 98),
               4.   “$CEI 10+” (along with a link to a tweet of a Reuters.com news
                    article describing how the price of oil would rise to “100+ in
                    Winter months”) (¶ 99),

       Re: DATS (DatChat, Inc.)

               5. “$DATS I want $30+ with all the upcoming catalysts” (¶ 106),
               6. “$DATS We’re early and shorts are trying hard. We’ll squeeze
                   that seeking alpha hoe. He’s short. See you at over $30 b*tches.”
                   (along with a photo of upcoming milestone of DATS through
                   Q4 2021”) (¶ 106),
               7. “$DATS $30+ maybe $50 or $100” (¶ 106),
               8. “$DATS has nothing to do with CEI. The scam paid room was
                   grouping them together. We’re going to $10 $20 $30 maybe $50.
                   Sick app and only 12 million float with lots of catalysts on the
                   way” (¶ 106),
               9. “$DATS See you on Mars[,]” (¶ 107),
               10. “$DATS I’m holding shares LT [long term]. I could careless of
                   [sic] a short report comes out. I’ll gobble up the dip and f them.”
                   (¶ 107),
               11. “$DATS Let’s do a short report at the bottom. Lol idiots squeeze
                   these hoes. $DATS $30++.” (¶ 107),

       Re: BBI (Brickell Biotech, Inc.)




                                                 5
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 14 of 38




               12. “added big on the dip” (¶ 112),
               13. “$BBI 1-2 week hold for me. Looking for .50–$1” (¶ 113),
               14. “$BBI .33 is my add zone” (¶ 113),
               15. “$BBI I’m pumping while it’s still cheap. Don’t tag me when
                   you chased over .50 [cents per share.]” (¶ 113),
               16. “$BBI dips for my crips. We’re going over .50 and higher. We
                   got catalysts baby . . . .” (¶ 113),
               17. “$BBI to $1” (¶ 113),
               18. “still fully in $BBI” (¶ 113),
               19. “$BBI It’s going past .50 I feel it in my heart” (¶ 114),
               20. “$BBI Bullish!!!!!!” (¶ 114),
               21. “$BBI You’re going to feel so stupid when this hits .50+” (¶
                   115).

       Re: ONTX (Onconova Therapeutics, Inc.)

               22. The Indictment does not include any general allegations with
                   respect to ONTX, nor descriptions of any tweets, retweets, or
                   statements by Constantinescu regarding ONTX.

       Re: MYSZ (My Size, Inc.)

               23. The Indictment does not include any general allegations with
                   respect to MYSZ, nor descriptions of any tweets, retweets, or
                   statements by Constantinescu regarding MYSZ.

       Each of the above-mentioned alleged tweets is introduced in the Indictment with emphasis

that the statement is “false.” With respect to these allegations, Constantinescu requested, pursuant

to a letter addressed to the government on February 16, 2023, particulars regarding his allegedly

“false” statements. When the government refused, Constantinescu filed a Motion for Bill of

Particulars and Grand Jury Transcripts on March 24, 2023, seeking an explanation as to how the

alleged statements by Constantinescu quoted in the Indictment are “false.” [ECF 219]. In its

Response, the government emphasized its “general description” of the sort of “false, positive

information about the security” Constantinescu had posted:

               the defendants’ position in the security, how long the defendants
               intended to hold the security, the defendants’ view that the
               security would increase in price, and the price the security could
               reach …



                                                 6
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 15 of 38




[ECF 234 at 2] (emphasis original). According to the government, “the bolded sections in the

passage above provide general explanation of the types of false statements at issue in this case and

general description of why and how many statements were false or misleading.” [ECF 234 at 2]

(emphasis added).         And the government suggested that the quoted tweets attributed to

Constantinescu in the Indictment constitute “copious instances of particular examples of false and

misleading statements falling under those general descriptions.” [ECF 234 at 2]. The government

made clear that “the Defendants’ trading activity … demonstrates that they in fact did not believe

what they said publicly or were not trading as they represented publicly.” [ECF 234 at 5–6]

(emphasis added).

         At the hearing on Constantinescu’s motion for a bill of particulars, the government

emphasized that its theory, that Constantinescu “did not believe” what he allegedly tweeted, was

based on his subsequent trading activity. For example, the government argued:

                  And so what does Mr. Constantinescu start doing seven minutes
                  after posting: “See you on Mars,” he starts dumping his shares. He
                  sells 80,000, 98,000, 95,000, 30,000, 90,000, 18,000, 30,000,
                  25,000. He sells over 466,000 shares of DATS after telling the
                  world: “See you on Mars.” The stock is going to the moon.

(Apr. 12, 2023 Tr. at 21: 8-13) (emphasis added). It went on to explain that the “See you on Mars”

statement is “false” because he “conceal[ed]” his subsequent sale of $DATS shares from “all of

his followers.” (Tr. at 21: 20-24).6

         In addition to these counts, the Indictment also charges Constantinescu with a single count

of conspiracy to commit securities fraud under 18 U.S.C. § 1349. To support this count, the

government proposes that “the defendants used their social media influence to pump and dump



6
  In presenting this argument, the government ignores its own allegations in paragraph ¶ 107(i) of the Indictment that
the following day Constantinescu purchased 695,942, approximately $6.3 million, in DATS shares.


                                                          7
     Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 16 of 38




securities for their own financial gain.” (Indictment ¶ 12). “To do so,” according to the

government, “one or more of the defendants first purchased a security, often notifying other

defendants of the purchase so that they, too, could ‘load’ and buy the security.” (Id. at ¶ 13). It

continues, “After purchasing or ‘loading’ the security, one or more of the defendants sought to

‘pump’ the price of that security by posting false or misleading information about the security on

Twitter and Atlas Trading Discord so that other investors were induced to purchase the security

and artificially increase its price.” (Id.). The government alleges the Defendants sought “to

conceal from … their Twitter followers and members of Atlas Trading Discord” their “true trading

positions and intentions” and then “secretly sold their own shares” and “concealed their intent to

sell.” (Id. at ¶ 1, 14).

        The Indictment does not point to any specific agreement among the Defendants and the

“other individuals, known and unknown” but contains allegations that the some of the Defendants

discussed in chatrooms, private direct messages, and through tagging and posting on Twitter their

positions in certain stocks. Critically, the Indictment does not allege the Defendants all bought,

posted about, and sold the same stocks or that they did so at the same time. For example,

Constantinescu only tweeted about 5 of the 19 stock tickers referenced in the Indictment during

the alleged time of the conspiracy purportedly to pump and dump those stocks. That is,

Constantinescu did not make a single tweet about those 14 stocks during the supposed time period

of the conspiracy to pump and dump each particular stock, nor does the government allege

substantive violations against Constantinescu under § 1348 as to those 14 stock tickers.

                                            ARGUMENT

I.      LEGAL STANDARDS

      A.      Failure to State an Offense




                                                8
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 17 of 38




       An indictment is subject to dismissal for the Government’s failure to state an offense. See

Fed. R. Crim. P. 12(b)(3)(B)(v). “The propriety of granting a motion to dismiss an indictment …

by pretrial motion is by-and-large contingent upon whether the infirmity in the prosecution is

essentially one of law or involves determinations of fact … If a question of law is involved, then

consideration of the motion is generally proper.” United States v. Fontenot, 665 F.3d 640, 644 (5th

Cir. 2011) (quoting United States v. Flores, 404 F.3d 320, 324 (5th Cir. 2005) (internal quotation

marks and citations omitted)). “In reviewing a challenge to an indictment alleging that it fails to

state an offense, the court is required to take the allegations of the indictment as true and to

determine whether an offense has been stated.” Id. (quoting United States v. Crow, 164 F.3d 229,

234 (5th Cir. 1999)).

     B.      Due Process and Vagueness Doctrine

       The Fifth Amendment provides that “[n]o person shall be held to answer for a capital, or

otherwise infamous crime, unless on a presentment or indictment of a Grand Jury … nor be

deprived of life, liberty, or property without due process of law … ” U.S. CONST. amend. V. “It

is a bedrock principle that the Due Process Clause protects the accused against conviction except

upon proof beyond a reasonable doubt of every fact necessary to constitute the crime with which

he is charged.” United States v. Harra, 985 F. 3d 196, 211 (3d Cir. 2021) (quoting In re Winship,

397 U.S. 358, 364 (1970)) (alterations omitted). “In the false statement context, because falsity

and knowledge are distinct elements, this means the Government must prove a statement was false

beyond a reasonable doubt, regardless of the defendant’s subjective intent … ” Id. (citing United

States v. Castro, 704 F.3d 125, 139 (3d Cir. 2013)).

       Due process also requires that “no man shall be held criminally responsible for conduct

which he could not reasonably understand to be proscribed.” United States v. Lanier, 520 U.S.




                                                 9
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 18 of 38




259, 265 (1997) (internal quotations omitted). “As generally stated, the void-for-vagueness

doctrine requires that a penal statute define the criminal offense with sufficient definiteness that

ordinary people can understand what conduct is prohibited and in a manner that does not encourage

arbitrary and discriminatory enforcement.” Kolender v. Lawson, 461 U.S. 352, 357 (1983)

(emphasis added) (citations omitted). The Supreme Court has described “three related

manifestations of the fair warning requirement.” Lanier, 520 U.S. at 266 (emphasis added). “First,

the vagueness doctrine bars enforcement of ‘a statute which either forbids or requires the doing of

an act in terms so vague that men of common intelligence must necessarily guess at its meaning

and differ as to its application.’” Id. (quoting Connally v. General Constr. Co., 269 U.S. 385, 391

(1926)). “Second, as a sort of ‘junior version of the vagueness doctrine’ … the canon of strict

construction of criminal statutes, or rule of lenity, ensures fair warning by so resolving ambiguity

in a criminal statute as to apply it only to conduct clearly covered.” Id. (internal citation omitted).

In that respect, the rule of lenity serves as “a means for upholding the Constitution's commitments

to due process and the separation of powers … ” as it “works to enforce the fair notice requirement

by ensuring that an individual's liberty always prevails over ambiguous laws.” Wooden v. United

States, 142 S. Ct. 1063, 1082 (2022) (Gorsuch, J., concurring). Finally, “although clarity at the

requisite level may be supplied by judicial gloss on an otherwise uncertain statute … due process

bars courts from applying a novel construction of a criminal statute to conduct that neither the

statute nor any prior judicial decision has fairly disclosed to be within its scope.” Lanier, 520 U.S.

at 266 (internal citations omitted) (emphasis added). “In each of these guises, the touchstone is

whether the statute, either standing alone or as construed, made it reasonably clear at the relevant

time that the defendant's conduct was criminal.” Id.

     C.      As-Applied Vagueness Challenges




                                                  10
      Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 19 of 38




        “Vagueness challenges to statutes not threatening First Amendment interests are examined

in light of the facts of the case at hand; the statute is judged on an as-applied basis.” Maynard v.

Cartwright, 486 U.S. 356, 361 (1988). When faced with an “as-applied” vagueness challenge, a

“court must first determine whether the statute ‘give[s] the person of ordinary intelligence a

reasonable opportunity to know what is prohibited and then consider whether the law ‘provide[s]

explicit standards for those who apply [it].’” United States v. Nadi, 996 F.2d 548, 550 (2d Cir.1993)

(quoting Grayned v. City of Rockford, 408 U.S. 104, 108 (1972), and United States v.

Schneiderman, 968 F.2d 1564, 1568 (2d Cir.1992)).

II.     THE INDICTMENT FAILS TO STATE A § 1348 SECURITIES FRAUD OFFENSE
        AGAINST CONSTANTINESCU BECAUSE CONSTANTINESCU’S TWEETS DO
        NOT CONTAIN ANY “FALSE” STATEMENTS AS A MATTER OF LAW.

        The Indictment makes clear—by referring to purportedly “false” statements by the

Defendants no less than 100 times in its 44 pages—that its securities fraud charges against

Constantinescu rely on § 1348(2)’s requisite “false or fraudulent pretenses, representations, or

promises[.]”7 A statement which makes no factual assertion cannot be characterized as “false” for

an offense predicated on false statements or representations. Williams v. United States, 458 U.S.

279, 284 (1982); see also United States v. Medeles, 916 F.2d 195, 199–200, 202 (5th Cir. 1990)

(reversing § 1344 wire fraud conviction because “deposit of a check is not an assertion about the

balance in the account,” thus the deposit of the insufficient funds checks alone did not constitute

“false or fraudulent pretenses, [or] representations”). Additionally, “[d]ue process demands that

the falsity element stand independent of a defendant’s subjective intent.” Harra, 985 F. 3d at 211

(vacating § 1348 conviction where trial environment emphasized legally erroneous theories,



7
  Ultimately, whether § 1348(1) applies here does not alter the analysis. That the Indictment’s description of counts
two through twenty does not identify a particular subsection—and simply lists the separate elements of subsection (1)
and (2)—does not alter the Government’s burden to prove falsity.


                                                         11
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 20 of 38




including the government’s “references to the falsity of Defendants’ representations about past due

loans”); see also United States v. Campbell, 64 F.3d 967, 974 (5th Cir. 1995) (reversing bank fraud

and conspiracy to commit bank fraud convictions and finding government required to prove

distinct elements that the statement “was false,” that is, objective falsity, and that the defendant

“knew the statement was false when he made it,” that is, subjective falsity).

        This means the government must prove beyond a reasonable doubt that a statement was

“objectively false,” regardless of the defendant’s subjective intent. Id. at 211–12 (citing United

States v. Castro, 704 F.3d 125, 139 (3d Cir. 2013)); see also United States v. Ryan, 580 F. Supp. 3d

359, 371 (E.D. La. 2022) (statute requiring proof of false bank entries “applies solely to statements

of fact, not opinions”). And as the Fifth Circuit has recognized: “Of course, fraud claims must be

based on misrepresentation of material fact, not opinion.” United States v. Matthews, 31 Fed.

App’x. 838, 2002 WL 261421, at *9 (5th Cir. 2002).

        Constantinescu’s allegedly “false” tweets fall within two categories: (1) speculations about

the future price of stocks and (2) statements of future intent to hold (not sell) a security. According

to the government, the jury may infer those tweets were false because Constantinescu’s subsequent

trading activity suggests that his subjective intent rendered his tweets false at the time the

statements were made. For example, the government suggests Constantinescu never believed CEI

would reach $10 because he sold his shares for $2.609.8 (Indictment ¶ 99). Similarly, it suggests

his tweet that he was “holding shares [of DATS] LT” was false because he closed his position five

days later (with respect to the shares held at the time of the tweet). (Indictment ¶¶ 107–08).

Likewise, it alleges his tweet “$BBI 1-2 week hold for me. Looking for .50-$1” was false because

he closed his position three days later “at an approximate price of $0.331 per share.” (Indictment


8
 The government takes this position even though Constantinescu held CEI shares for two months during this time and
did not sell them even when the stock reached nearly $5 dollars a share. (Indictment ¶¶ 93, 98–99).


                                                       12
       Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 21 of 38




¶¶ 113, 115). According to the government, these statements are “false” because Constantinescu’s

subsequent trading activity was inconsistent with his speculation about the stock’s future price and

statements of future intent to hold the shares.

         At the hearing on Constantinescu’s motion for bill of particulars, when asked for particulars

to clarify why such statements were “false,” the government doubled down on its claim that

Constantinescu “did not believe” the statements when he said them as demonstrated solely by

subsequent “trading activity.” [ECF 234 at 6]. This theory cannot square with the constitutional

command that “the Government must prove a statement was false beyond a reasonable doubt,

regardless of the defendant’s subjective intent,” based on some objective indicia of falsity. Harra,

985 F. 3d at 211; see also SEC v. Life Partners Hldgs., Inc., 41 F. Supp. 3d 550, 560 (W.D. Tex.

2013) (holding that even in civil cases “predictive statements are typically not actionable” absent

objective indicia of falsity “when it was made”) (citing Rubenstein v. Collins, 20 F.3d 160, 166

(5th Cir. 1994) recognized at superseded by statute in Heinze v. Tesco Corp., 971 F. 3d 475, 482

n.2 (5th Cir. 2020)). The government was required to allege some objective indicia of falsity. It

has not and cannot. It failed to do so in the Indictment and came forth with no evidence at the bill

of particulars hearing. Because the Indictment’s allegations rely solely on Constantinescu’s

purported subjective falsity, it fails to state a § 1348 securities fraud offense as a matter of law and

counts 2, 14, 15, 18, and 20 must be dismissed. See, e.g., Fontenot, 665 F.3d 640 (affirming

dismissal of indictment where, as a matter of law, defendant did not make a false statement).

III.     THIS PROSECUTION OF CONSTANTINESCU, PREMISED ON THE
         GOVERNMENT’S NOVEL APPLICATION OF § 1348 AND § 1349, VIOLATES
         THE CONSTITUTIONAL COMMAND THAT A PERSON MUST HAVE FAIR
         WARNING THAT THEIR CONDUCT FALLS WITHIN THE SCOPE OF THOSE
         STATUTES.




                                                  13
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 22 of 38




         “Before criminal liability may be imposed for violation of any penal law, due process

requires ‘fair warning … of what the law intends.’” Lanier, 520 U.S. at 259 (quoting McBoyle v.

United States, 283 U.S. 25, 27 (1931)). The touchstone of the “fair warning requirement” is

“whether the statute, either standing alone or as construed by the courts, made it reasonably clear

at the time of the charged conduct that the conduct was criminal.” Id. at 265. In this same vein,

“due process bars courts from applying a novel construction of a criminal statute to conduct that

neither the statute nor any prior judicial decision has fairly disclosed to be within its scope.” Id.

at 266 (citations omitted) (emphasis added).9

         This prosecution, and the government’s application of the statutes to the facts as presented

in the Indictment, is unprecedented, unanticipated, and unconstitutional under the vagueness

doctrine and its fair warning requirement. Constantinescu had no warning that the conduct alleged

in the Indictment could form the predicate criminal charges under §§ 1348 and 1349. Indeed, the

securities laws and regulations already establish the duties, rights, and obligations governing the

conduct alleged in the Indictment, yet the facts as alleged in the Indictment make clear that the

Defendants, individually and collectively, acted lawfully and in a manner consistent with the

securities laws and regulations.

      A.        The securities laws and regulations cover the conduct alleged in the Indictment.10

9
  See, e.g., Marinello v. United States, 138 S. Ct. 1101, 1108 (2018) (finding 26 U.S.C. § 7212(a) Omnibus Clause of
Internal Revenue Code did not provide fair notice that defendant’s seemingly innocuous conduct would have led him
to believe he could “fac[e] a potential felony prosecution of tax obstruction.”); United States v. White Eagle, 721 F.3d
1108, 1118 (9th Cir. 2013) (reversing 18 U.S.C. § 1001(a)(1) conviction when regulation purportedly creating duty to
disclose did not “provide specifics on what kind of information should be reported and to whom.”); City of Chicago
v. Morales, 527 U.S. 41, 41 (1999) (plurality) (finding Chicago ordinance criminalizing loitering unconstitutional
because it “violate[d] due process in that it [was] impermissibly vague on its face and an arbitrary restriction on
personal liberties” due to the fact that it gave “officers absolute discretion to determine what activities constitute[d]
loitering.”).
10
   Under 18 U.S.C. § 1348, the alleged “scheme or artifice” must be either “in connection with” (subsection (1)) or
“in connection with the purchase or sale of” (subsection (2)) “any security of an issuer with a class of securities
registered under Section 12 of the Securities Exchange Act of 1934 (15 U.S.C. 78l).” 18 U.S.C. § 1348. Because the
statute seeks only to penalize conduct in relation to Section 12 registered securities, securities laws and SEC rules and
guidance on securities registered under Section 12 are critical to understanding potential restrictions placed on the
Defendants’ transfer of securities and any disclosure requirements.


                                                          14
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 23 of 38




        For nearly a century, the securities industry has been governed by established laws and

regulations that dictate the rights, duties, and obligations of investors with respect to the transfer

of securities as well as concomitant disclosures requirements. Starting with the Securities Act of

1933 (the “Securities Act”) (15 U.S.C. § 77 et seq.) and the Securities and Exchange Act of 1934

(the “Exchange Act”) (15 U.S.C. § 78 et seq.), Congress established laws with a two-fold stated

purpose: to protect investors and to maintain the integrity of the market. The Securities Act

established formal registration requirements while the Exchange Act established the Securities and

Exchange Commission (“SEC”), empowering it with “broad authority over all aspects of the

securities industry,” including enforcement authority with respect to prohibited conduct in the

market.11 Along with its enforcement powers under the Exchange Act, the SEC also has the

authority to establish its own regulations through the Code of Federal Regulations (C.F.R.). And,

as another tool for protecting investors, Congress enacted the Investment Advisers Act of 1940

(“IAA”) (15 U.S.C. § 80 et seq.), which requires “firms or sole practitioners compensated for

advising others about securities investments [to] register with the SEC and conform to regulations

designed to protect investors.”12

Limitations on the transfer of securities:

        In these established laws and regulations exist enumerated limitations on the transfer of

securities in certain circumstances. For example, 15 U.S.C. § 78i prohibits certain forms of market

manipulation effected through “transactions relating to the purchase or sale of securities,”

including manipulation through wash trading, the entry of fraudulent orders, or entering orders to

affect the value of a security without intent to execute the order. See, e.g., SEC v. E. Delta Res.


11
   The Laws That Govern the Securities Industry, SEC.gov, Last mod. Oct. 1, 2013, https://www.sec.gov/about/about-
securities-laws.
12
   Id. (emphasis added).


                                                       15
     Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 24 of 38




Corp., 2011 WL 13305345, at *4 (E.D.N.Y. Mar. 22, 2011) (explaining that “[m]arket

manipulation ‘refers generally to practices, such as wash sales, matched orders, or rigged prices”

and defining “wash sales” as “transactions involving no change in beneficial ownership”). Bona

fide market transactions that are “part of the legitimate forces of supply and demand” cannot be

considered “market manipulation.” Cf. United States v. Radley, 659 F. Supp. 2d 803, 816 (S.D.

Tex. 2009) aff’d 632 F.3d 177 (5th Cir. 2011) (discussing “price artificiality” in commodities fraud

context). In fact, the securities laws expressly permit even coordinated group trading of securities

without placing limitations on the transfer of securities obtained pursuant to coordinated group

trading activity so long as the trading is not done for an unlawful purpose. See, e.g., 15 U.S.C. §

78i(a)(2), (a)(6), (d); Regulations 13D/13G.13

        As a general matter, a public company’s non-restricted securities are freely transferable by

market participants other than issuers, underwriters, dealers, and insiders.14 Indeed, restricted

securities aside, SEC regulations and guidance point to only two provisions, applicable only to

insiders, restricting the buying and selling of non-restricted securities: Section 16(b) and Rule

10b5-1.15 Section 16(b) of the Exchange Act provides for a civil disgorgement remedy payable to

the issuer of securities for profits realized from short-swing trading (that is, selling shares during

the statutorily prescribed six-month time period). 15 U.S.C. § 78p(b), (c) (emphasis added). And,

as an affirmative defense to Rule 10b-5 allegations of insider trading, Rule 10b5-1 enumerates

conditions which demonstrate “a person’s purchase or sale is not on the basis of material nonpublic

information,” most notably stock sales plans. 17 C.F.R. § 240.10b5-1. Neither rule places

restrictions on a non-insider’s sale of non-restricted registered securities.


13
   https://www.sec.gov/interps/telephone/cftelinterps_reg13d-13g.pdf
14
   https://www.sec.gov/education/smallbusiness/exemptofferings/faq.
15
   Insider Trading Policy, Exhibit 99.4, SEC.gov, last rev. Nov. 11, 2025,
https://www.sec.gov/Archives/edgar/data/1164964/000101968715004168/globalfuture_8k-ex9904.htm.


                                                   16
       Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 25 of 38




           The securities laws also provide for clear restrictions on the sale of securities by investment

advisers under the IAA. Under the IAA, the term “‘Investment adviser’ means any person who,

for compensation, engages in the business of advising others … as to the value of securities or as

to the advisability of investing in, purchasing, or selling securities … ” 15 U.S.C. § 80b-2(11)

(emphasis added). And under 15 U.S.C. § 80b-6, titled “Prohibited transactions by investment

advisers,” the IAA places restrictions on the sale of securities by prohibiting investment advisers

from, for example, “knowingly selling any security to or purchasing any security from a client,

while acting as a principal for his own account” “without disclosing to such client in writing before

the completion of such transaction the capacity in which he is acting and obtaining the consent of

the client to such transaction.” 15 U.S.C. §§ 80b-6(3) (emphasis added).

Group trading activity and disclosure requirements:

           The securities laws and regulations expressly permit lawful group trading of securities.

See, e.g., 15 U.S.C. § 78i(a)(2), (a)(6), (d); Regulations 13D/13G. Even so, the requirements

placed on group trading largely relate to filing of forms related to ownership, such as the filing of

a Schedule 13D/G if a group (or individual) exceeds 5% ownership of a company’s outstanding

shares. Specifically, under Section 13(d), any person who becomes a beneficial owner of more

than five percent of the class of a security must file a form 13D, sharing certain information with

the SEC, on the SEC’s EDGAR web platform. 15 U.S.C. § 78m(d)(1); 17 C.F.R. § 240.13d-1.

Beneficial owners also file a form once they no longer own 5% of outstanding shares. The five

percent threshold applies to individuals but also when “two or more persons act as a … group for

the purpose of acquiring, holding, or disposing of securities.” Id. at § 78m(d)(3).16 Congress

enacted § 78m(d), Section 13(d), “to empower the common investor with adequate information



16
     The same applies to the requirements to file a Form 13G. See 15 U.S.C. § 78m(g).


                                                         17
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 26 of 38




regarding those seeking control of an issuer through a tender offer or other method of acquisition

so that an individual investor is able to decide whether to retain or dispose of the stock.” Motient

Corp. v. Dondero, 2006 WL 8437595, at *5 (N.D. Tex. Aug. 7, 2006) aff’d in part, remanded in

part, 529 F.3d 532 (5th Cir. 2008).

       In determining whether a “group” exists under Section 13, a key question is whether the

relevant individuals agreed to act together for these purposes. Morales v. Quintel Ent., Inc., 249

F.3d 115, 123-24 (2d Cir. 2001); see also Corenco Corp. v. Schiavone & Sons, Inc., 488 F.2d 207,

217 (2d Cir. 1973). “Mere relationship, among persons or entities, whether family, personal or

business, is insufficient to create the group which is deemed to be a statutory person.” Transcon

Lines v. A.G. Becker Inc., 470 F. Supp. 356, 375 (S.D.N.Y. 1979) (internal quotation marks

omitted).

       As set forth below, because existing securities laws and regulations cover the conduct

alleged in the Indictment and the Defendants’ actions were lawful, the Indictment’s proposed

application of § 1348 and § 1349 violates all three aspects of the Constitution’s fair warning

requirement.

     B.        The five § 1348 counts against Constantinescu, as alleged in the Indictment, violate
               the fair warning requirement because (i) the government’s novel construction of the
               statute has never been applied by courts and (ii) Constantinescu’s alleged conduct
               falls outside the scope of established securities laws which already regulate the sale
               of securities.

                            1. The government’s theory with respect to the requisite “falsity”
                               under § 1348 is unprecedented and has never been applied by courts
                               in a manner that would have provided fair warning of the
                               government’s proposed application of the statute here.

       The government asks this Court to disregard the fair warning requirement and instruct a

jury to conclude that Constantinescu’s tweets were false based solely on his subsequent trading

activity—a novel construction of § 1348 and the concept of “falsity” under other Chapter 63 fraud



                                                  18
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 27 of 38




violations. Permitting a jury to infer falsity based solely on subsequent conduct allegedly

inconsistent with speculations about a security’s future price or statements about a future intent to

hold the security, would, in effect, either (1) restrict the sale of those securities or (2) criminalize

the sale of those otherwise non-restricted securities. But no prior judicial decision would have

provided notice that tweeting a comment such as “$DATS See you on Mars” could be rendered

criminal by subsequent sale of the security, even if a sale was executed seven minutes later.

        Since its enactment in 2002, § 1348 remains a rarely utilized vehicle for prosecuting

securities fraud. While § 1348 has yet to be interpreted by the Fifth Circuit, the few other cases

throughout the country that have charged § 1348 since 2002 almost all involve allegations of

insider trading or market manipulation and frequently are accompanied by additional Title 15

securities fraud charges. See, e.g., United States v. Dikshit, 2022 WL 13835072, (S.D.N.Y. Oct.

20, 2022) (defendant was charged with insider trading scheme pursuant to criminal complaint with

securities fraud under both Title 15 and § 1348, but pled guilty only to one-count information

charging him with Title 15 securities fraud); Hussain, 972 F.3d at 1140 (insider CFO of Hewlett-

Packard subsidiary convicted of, inter alia, securities fraud under § 1348 for approving “false and

misleading financial information in an HP press release distributed to the investing public[.]”).

The one other known case with a § 1348 charge involving an alleged Twitter “pump and dump”

scheme, United Stated v. Gallagher, involved allegations of unlawful market manipulation under

15 U.S.C. § 78i based on entry of fraudulent asks and bids as well as false statements based on that

defendant’s apparent insider status. See United States v. Gallagher, No. 1:22-cr-122 (S.D.N.Y.

July 6, 2022) (ECF No. 1); see also SEC v. Gallagher, 21 CV 8739 ¶ 41 (S.D.N.Y.). But that case

provides no guidance because ultimately, Gallagher pled guilty to a single count not charged here.

Id. (ECF No. 1, 11, 24). This case is the first of its kind—as is the government’s proposed novel




                                                  19
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 28 of 38




construction of § 1348, applying the statute to non-insiders in a manner that seeks significant

judicial expansion of existing securities laws.

                           2. The existing securities laws that establish limitations on the sale of
                              a security after an individual provides advice on that security do not
                              apply to Constantinescu.

       The government’s novel construction seeks to judicially expand securities laws by applying

the standards of the IAA to Constantinescu. As mentioned above, the IAA sets forth certain

restrictions on the sale of securities by investment advisers. The IAA applies to persons who advise

others about securities “for compensation.” 15 U.S.C. § 80b-2(11). While the IAA undoubtedly

covers non-registered investment advisers, at a minimum, a person only falls under the statute

where he provides advice “for compensation.” See, e.g., In re Living Benefits Asset Mgmt., L.L.C.,

916 F.3d 528, 532–534 (5th Cir. 2019).

       It is unlawful for any investment adviser:

               acting as principal for his own account knowingly to sell any
               security to or purchase any security from a client, or acting as broker
               for a person other than such client, knowingly to affect any sale or
               purchase of any security for the account of such client, without
               disclosing to such client in writing before the completion of such
               transaction the capacity in which he is acting and obtaining the
               consent of the client to such transaction.

15 U.S.C. § 80b-6(3). In essence, the government seeks to impose some variant of this duty on

Constantinescu without satisfying any of the statute’s elements. Noticeably, the Indictment makes

no mention of Constantinescu providing advice as to the purchase and sale of a security “for

compensation,” because Constantinescu never received any compensation from Twitter users and

the Atlas Discord chatroom was free. (See Indictment ¶ 2). Constantinescu did not qualify as an

investment adviser, and therefore could not be restricted from selling stock unless he first

communicated with Twitter users or the approximately 250,000 members of the Atlas Discord




                                                  20
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 29 of 38




chatroom. That is what the government seeks to do here. But Constantinescu had no fair warning

of the judicial expansion of the IAA sought: a requirement that people who speculate about the

future price of a security or their future intent not to sell the stock may not sell the security for

some indeterminate amount of time or until after some undefined disclosure.

                           3. Remaining securities laws do not provide notice that Constantinescu
                              was restricted from selling shares after speculating about their price
                              or tweeting his intent to hold them.

       Additionally, no remaining securities laws restricting the sale of a public company’s

registered, non-restricted stock provides warning that Constantinescu’s sale of securities could be

restricted based on his tweets. A main feature of the securities laws, including § 1348, has always

been aimed at one concern in particular—insider trading. It is well understood that the securities

laws were enacted “to promote fair and transparent securities markets” and that their targeted

proscription of insider trading has “play[ed] an essential role in maintaining the fairness and

integrity of our securities markets.” Insider Trading Arrangements and Related Disclosures,

[Release Nos. 33-11138; 34-96492; File No. S7-20-21], SECURITIES AND EXCHANGE

COMMISSION, effective date: Feb. 27, 2023, https://www.sec.gov/rules/final/2022/33-

11138.pdf.

       As part of that structure, “[t]o prevent insiders of a securities issuer from trading on material

non-public information … ” Section 16(b), known as the “short-swing profit rule,” creates a civil

remedy requiring insiders “to disgorge to the issuer any profits they realize from short-swing

trading in the issuer’s securities.” Rubenstein v. International Value Advisers, LLC, 959 F.3d 541,

543 (2d. Cir. 2020); see 15 U.S.C. § 78p(b). Unlike § 1348, which is a criminal statute that does

not create a private right of action, Section 16(b) is only enforced through civil private actions.

See 15 U.S.C. § 78p(b) (short-swing profits are “recoverable by the issuer”); see also Donaldson




                                                  21
     Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 30 of 38




v. Severn Sav. Bank, F.S.B., No. CV JKB-15-901, 2015 WL 7294362, at *2 (D. Md. Nov. 18, 2015)

(noting that 18 U.S.C. § 1348 and other similar statutes are federal criminal statutes and do not

prescribe a civil penalty).17 And to recover disgorgement, a plaintiff bears the burden of proving

“there was (1) a purchase (2) and a sale of securities (3) by a statutory insider (4) within a six-

month period.” Microbot Med., Inc. v. Mona, No. 19CIV3782GBDRWL, 2021 WL 1192110, at

*3 (S.D.N.Y. Mar. 30, 2021), appeal dismissed (Aug. 9, 2021) (emphasis added). Thus, Section

16(b) provides notice of the conduct it covers through its statutorily prescribed six-month time

period, creating a civil remedy whereby insiders must disgorge certain profits. Unlike the notice

provided by 16(b), the government’s proposed application of § 1348 fails to allege Constantinescu

was an insider and fails to provide Constantinescu notice of any specific time frame, for example

six months, when he could have sold shares without incurring criminal liability.

        Equally critical, in 2000, the SEC adopted Rule 10b5-1, which provides an affirmative

defense to insider trading liability under Rule 10b-5 where it is evident that material nonpublic

information known to the person trading did not play a role in trading decisions. See 17 C.F.R. §

240.10b5-1. Specifically, Rule 10b5-1 enumerates conditions which demonstrate “a person’s

purchase or sale is not on the basis of material nonpublic information,” including where, for

example, “[b]efore becoming aware of the information, the person had: (1) Entered into a binding

contract to purchase or sell the security, (2) Instructed another person to purchase or sell the

security for the instructing person's account, or (3) Adopted a written plan for trading securities.”

Id. at § 240.10b5-1(c). The Rule goes on to describe its conditions in detail none of which have

any applicability here.




17
   Exchange Act Section 16 and Related Rules and Forms, Question 103.01, SEC.GOV, Last updated: Oct. 7, 2022,
https://www.sec.gov/divisions/corpfin/guidance/sec16interp.


                                                     22
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 31 of 38




       Thus, the securities laws have already clearly delineated specific guidelines regarding the

sale of non-restricted securities, but those guidelines do not apply here. A construction of § 1348

that restricts sale of securities based on the notion that the sale conflicts with prior statements

speculating about the future price of the security has no basis in the securities laws and the rule of

lenity counsels against expanding the scope of § 1348 to create this novel form of criminal liability.

See United States v. Bass, 92 S. Ct. 515, 523 (1971) (“[L]egislatures not courts should define

criminal activity”); see also Wooden, 142 S. Ct. at 1083 (Gorsuch, J., concurring) (“lenity’s

emphasis on fair notice … is about protecting an indispensable part of the rule of law—the promise

that, whether or not individuals happen to read the law, they can suffer penalties only for violating

standing rules announced in advance”) (emphasis added).

     C.      The Indictment violates due process because the Defendants did not have fair warning
             that their lawful conduct could give rise to criminal liability under 18 U.S.C. § 1349
             for conspiracy to commit securities fraud.

       The Indictment’s theory underpinning its conspiracy to commit securities fraud charge is

not legally cognizable because it relies entirely on lawful conduct. “The elements of conspiracy

under 18 U.S.C. § 1349 are: (1) two or more persons made an agreement to commit an unlawful

act; (2) the defendant knew the unlawful purpose of the agreement; and (3) the defendant joined

in the agreement willfully, with the intent to further the unlawful purpose.” United States v.

Simpson, 741 F.3d 539, 547 (5th Cir. 2014). But, accepting the Indictment’s allegations as true,

the Defendants could not have anticipated that their lawful activities could form the basis for a

criminal conspiracy. See Campbell, 64 F.3d at 978 (reversing conviction for conspiracy to commit

bank fraud under § 1344 because defendant “acted within the perimeters of his legal rights”); see

also Hendricks, 116 F.3d 1476, 1997 WL 304169, at *4 (reversing a conspiracy to commit bank

fraud under § 1344, reasoning “[i]t is clear and undisputed that neither borrowing excess money




                                                 23
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 32 of 38




nor using a trustee … are crimes”); Plaisance v. Schiller, 2019 WL 1205628, *21 (S.D. Tex. Mar.

14, 2019) (dismissing civil securities fraud lawsuit based because “[i]t is undisputed that ‘[w]hen

an allegation of fraud is based upon nondisclosure, there can be no fraud absent a duty to speak’”)

(quoting Chiarella v. United States, 100 S. Ct. 1108, 1118 (1980)). The Indictment does not

adequately allege the Defendants agreed to do something unlawful under the securities laws nor

that they concealed something they were required to disclose. See White Eagle, 721 F.3d at 1118

(“Because the alleged object of the conspiracy––the loan modification––was not itself criminal,

there can be no conspiracy.”).

       In fairness, paragraph 1 of the Indictment alleges that the Defendants carried out an alleged

“scheme” to “pump and dump” securities through three actions, the Defendants: “(1) purchased

shares of a security in their trading accounts; (2) posted messages on social media platforms with

false, positive information about the security … , and (3) secretly sold their own shares of the

security at a higher price to secure a profit for themselves, at or around the time they posted

messages to induce other investors to purchase the same security and concealed their intent to

sell.” (Indictment ¶ 1). But this theory relies on a novel and flawed application of § 1349 because

the securities laws permit these alleged activities: (i) making bona fide market purchases of non-

restricted securities at prevailing market prices, (ii) recommending and encouraging others to buy

those securities, (iii) speculating about the price those securities might reach, (iv) sharing truthful

information about the companies on social media, and (v) making bona fide sales at prevailing

market rates of those non-restricted securities without disclosing the sales.

       As the first step in the purported conspiracy, the government alleges that “one or more of

the Defendants first purchased a security, often notifying other Defendants of the purchase so that

they too, could ‘load’ and buy the security.” (Indictment ¶ 13). But even accepting this allegation




                                                  24
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 33 of 38




in the Indictment as true, it alleges nothing unlawful. There can be no question that discussing

personal trading activity with others and encouraging them to purchase their own shares of a

particular stock is perfectly legal. And nothing could have warned the Defendants that the

government would point to this lawful conduct as the predicate for an alleged conspiracy.

       In fact, even if Defendants were intentionally purchasing shares of securities in some

coordinated fashion (they were not as the face of the Indictment and trading records make clear),

the SEC expressly permits the purchase of securities as a group under Section 13(d) (15 U.S.C. §

78m(d)(3); 17 C.F.R. § 240.13d-1), as long as that activity “by 1 or more other persons” does not

constitute unlawful market manipulation, such as that identified in 15 U.S.C. § 78i. Even setting

aside that group trading is lawful, the Defendants’ alleged conduct here would not even qualify

them as a “group” for purposes of Section 13.

       In determining whether a “group” exists under Section 13, a key question is whether the

relevant individuals agreed to act together for the purpose of acquiring, holding, or disposing of

securities. Morales, 249 F.3d at 123-24. Indeed, the instances of the Defendants’ trading activity

alleged in the Indictment make clear that the Defendants were making independent trading

decisions not contingent upon each other’s trading activity. That is, each Defendant was managing

their risk as they saw fit. For example, with respect to CEI, the Indictment describes Matlock,

Cooperman, and Deel selling their shares of CEI at different times on August 4, 2021. (Indictment

¶ 94). The next day, Deel decided to close his position. Id. On September 10, 2021, Matlock

purchased and sold shares of CEI. (Id. at ¶ 96). Two weeks later, Hrvatin was trading CEI. (Id. at

¶ 98). And, on October 5, 2021, Constantinescu sold shares of CEI. (Id. at ¶ 99). There is nothing

suspect about six day traders buying and selling CEI shares at various times between August and

October 2021, especially given that even NASDAQ, the largest United States stock exchange by




                                                25
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 34 of 38




volume, was publishing articles actively pumping CEI shares around this time.18 The Indictment,

similarly, identifies only non-coordinated buying and selling by Defendants of DATS occurring on

differing dates and times. (Id. at ¶¶ 93, 105, 107–08) (Hrvatin purchased 10,000 DATS shares on

September 14, 2021, and closed his position the same day for “an approximate profit of

$3,602.00”; Cooperman purchased 14,000 DATS shares on September 17, 2021, and closed his

position the same day for a profit of approximately $2,404.25; Constantinescu purchased DATS

shares on August 13, 2021, and sold some of those shares on October 13, 2021, for an approximate

profit of $5,337,820.52).

        Rather than alleging coordinated purchases (or sales), the Indictment merely alludes to the

Defendants trading activity juxtaposed with their own posts on Twitter or Atlas Discord. That is,

the Indictment does not even satisfy the SEC’s civil standard for “group” trading activity. And,

even if it did, such trading is lawful and expressly permitted under the securities laws, requiring

only the filing of a 13D/G if the group exceed 5% ownership of a company’s outstanding shares.

But the Indictment does not contain any allegations that the Defendants individually or collectively

owned 5% or more of the 19 stocks identified in the Indictment. As such, Defendants lacked fair

warning that the government could pursue a theory, under § 1349, that their lawful bona fide market

purchases of non-restricted securities in their personal trading accounts could form the predicate

for a conspiracy.

        Where the Indictment truly fails, however, is the purported second step of the conspiracy,

in which “one of more of the Defendants sought to ‘pump’ the price of that security by posting

false and misleading information about the security on Twitter and Atlas Trading Discord so that


18
   See “Camber Energy Stock Is A Speculative Bet that Could Pay Off Handsomely, Larry Ramer, for InvestorPlace,
published on NASDAQ.com and available at https://www.nasdaq.com/articles/camber-energy-stock-is-a-speculative-
bet-that-could-pay-off-handsomely-2021-10-22 (“[T]here are multiple reasons why this speculative name could
potentially reward the owners of CEI stock quite handsomely.”) (last visited May 6, 2023).


                                                      26
    Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 35 of 38




other investors were induced to purchase the security and artificially increase its price.”

(Indictment ¶ 13). For starters, none of the 21 tweets the Indictment attributes to Constantinescu

are false as a matter of law. And its allegations as to the other Defendants are just more of the

same. (Indictment ¶ 96) (“At approximately 15:46:24 EST MATLOCK falsely claimed in Atlas

Trading Discord ‘CEI looking good’,” alleging this statement was “false” because Matlock sold

all 130,000 shares of CEI at 15:47:00 EST); (Indictment ¶ 98) (“On or about September 24, 2021,

at approximately 11:51:12 EST, HRVATIN falsely claimed in a tweet that ‘$CEI this can go to

$10,” alleging this tweet was “false” because at 12:33:00 EST “HRVATIN sold his entire position”

while simultaneously alleging that HRVATIN continued to day trade CEI during the subsequent

days); (Indictment ¶ 94) (“Deel falsely claimed in a tweet … that he was ‘holding and adding

more’ CEI shares in afterhours and that he was ‘holding full into tomorrow.’ Prior to and after these

messages, DEEL had been consistently selling out of his position in CEI.”). The conspiracy charge

rests on a notion of falsity inconsistent with the law and what appears to be a miscomprehension

of the concept of day trading.

       As the purported final step in this conspiracy, the Defendants allegedly “concealed” from

their twitter followers their “intent to sell” securities and “secretly sold their own shares of the

security at a higher price to secure a profit for themselves.” (Indictment ¶ 1) (emphasis added).

But even where the government’s theory alludes to allegations of “concealment of a material fact”

as opposed to factually “false” affirmative statements, the principles underlying the fair warning

requirement apply with equal force. Harra, 985 F. 3d at 213. In fact, “a conviction for concealing

material facts … cannot stand absent fair notice of the legal duty to make the particular disclosure.”

Id. (citing United States v. Safavian, 528 F.3d 957, 964–65 (D.C. Cir. 2008) (reversing a [18 U.S.C.




                                                 27
       Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 36 of 38




§ 1001(a)(1)] conviction because “vague” government guidance documents were insufficient to

create a legal duty to disclose)).

           The duties set forth in the securities laws requiring disclosure prior or subsequent to the

sale of a public company’s non-restricted stock do not apply to Constantinescu, or his Co-

Defendants. The government fails to allege group trading under 13D/G or that Defendants ever

collectively owned over 5% of a company’s outstanding shares. But even had the government

made these allegations, Exchange Act Sections 13(d) and 13(g) as well as Rule 13d-1 only

mandates “that a Schedule 13D must be filed within 10 days after the acquisition of more than 5%

of a class of equity shares registered under Section 12 of the Exchange Act.”19 The forms must be

filed with the SEC. Nothing in the securities laws imposes an obligation to immediately disclose

a stock sale and any required disclosures are done on EDGAR, anyhow, not Twitter. Nor do any

IAA disclosure requirements apply, as discussed above. For these reasons Count 1 fails as a matter

of law.

                                                CONCLUSION

           For the reasons set forth herein, Constantinescu respectfully requests the Court dismiss

Indictment and all charges against him and award any other relief deemed just and proper.



Dated: May 10, 2023                                                    Respectfully submitted,

                                                                       /s/ Matthew A. Ford
                                                                       Matthew A. Ford
                                                                       Texas Bar No. 24119390
                                                                       mford@fordobrien.com
                                                                       Lead Attorney

                                                                       Cara J. Filippelli
                                                                       Texas Bar No. 2416183
                                                                       cfilippelli@fordobrien.com
19
     https://www.sec.gov/corpfin/divisionscorpfinguidancereg13d-interphtm


                                                        28
Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 37 of 38




                                            Associate Attorney

                                            FORD O’BRIEN LANDY, LLP
                                            3700 Ranch Road 620 South, Suite B
                                            Austin, Texas 78738
                                            Telephone: (512)-503-6388
                                            Facsimile: (212) 256-1047

                                            Attorneys for Defendant
                                            Edward Constantinescu




                                  29
   Case 4:22-cr-00612 Document 262 Filed on 05/10/23 in TXSD Page 38 of 38




                               CERTIFICATE OF SERVICE

       I hereby certify that on May 10, 2023, a true and correct copy of the foregoing document

was served electronically on all counsel of record via the Court’s CM/ECF.

                                                           /s/ Matthew A. Ford
                                                           Matthew A. Ford




                                              30
